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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION

MARION P. HAMMER,
                                                    Case No.
          Plaintiff,

v.

LAWRENCE T. “LOL”
SORENSEN, CHRISTOPHER
RISICA, HOWARD WEISS,
and PATRICK SULLIVAN,

          Defendants.
                                  /

     VERIFIED COMPLAINT FOR INJUNCTIVE RELIEF & DAMAGES

          Plaintiff, Marion P. Hammer (“Hammer”), sues Defendants, Lawrence T.

“Lol” Sorensen (“Sorensen”), Christopher Risica (“Risica”), Howard Weiss

(“Weiss”), and Patrick Sullivan (“Sullivan”), and alleges as follows:

                                  INTRODUCTION

          1.     Hammer is a 79-year-old grandmother and nationally renowned civil

rights advocate who has spent the better part of her life protecting the Second

Amendment to the U.S. Constitution. She is considered by many to be the most

influential Second Amendment state lobbyist in the United States, and currently

serves as the National Rifle Association of America’s (“NRA”) Florida lobbyist.




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          2.      Although Hammer’s advocacy and prominence on a polarizing

political issue have made her a focal point of criticism over the rights and policies

she serves to protect, she respects the importance of freedom of speech and robust

political debate concerning the policies which she advocates.

          3.      However, there is a marked difference between speech and

harassment, and there are clearly delineated bounds of human decency that no

person can cross by using fear, intimidation, and threats of violence to lash out at

and try to silence those with whom they disagree.

          4.      “In a society where the expression of opinion is given the fullest

protection, public figures must expect criticism that may be untrue, unjustified, or

hurtful.         They need not, however, passively accept statements or conduct

transcending mere criticism which threaten personal or family safety … [such

that]… personal abuse is not in any proper sense communication of information or

opinion safeguarded by the Constitution, and its punishment as a criminal act

would raise no question under that instrument.” Smith v. State, 532 So.2d 50, 53

(Fla. 2d DCA 1988) (quoting Cantwell v. Connecticut, 310 U.S. 296, 309-10

(1939)).

          5.      The Defendants have transcended mere criticism and employed

threats, harassment, and personal abuse to try to humiliate and intimidate Hammer

in a manner that is utterly intolerable in a civilized community.



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          6.     No person, regardless of their profession or exercise of free speech

advocating for policies with which others disagree, should be harassed, threatened,

and denigrated as a “worthless cunt,” “whore,” and “disgusting bitch,” who

should “get to experience a (sic) ammo dildo” and be the victim of “100 bullets

between [her] eyes” while receiving unsolicited, graphic photos of gunshot

victims.1

          7.     The hateful and abhorrent harassment and threats Hammer faces are

being spewed in an increasingly threatening social climate in which erratic,

aggressive, and violent online personal attacks over political views are being

condoned and encouraged and can quickly escalate into actual violence. Hammer

reasonably fears that the misconduct directed at her will continue and escalate and

that she, her family and possibly others will be the victims of physical violence if

the abuse she is suffering is not stopped.

          8.     Hammer files this action to stand up for herself and others, to put a

stop to the assault upon her personal life and constitutional rights, to end her

harassment and the threats of violence and personal attacks she is enduring, and to

confirm that such misconduct will not be tolerated or allowed to continue and




1
  Plaintiff’s counsel reviewed the Local Rules and searched for guidance on the use of profanity
in pleadings, and found no results. However, because Plaintiff’s claims are based upon the
hostile, aggressive, and abusive nature of the language quoted herein, its severity, and its
impacts, Plaintiff believes it is important for that language to be uncensored in this filing.


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possibly escalate, regardless of the viewpoints of those who engage in such

conduct, or of their victims.

                        PARTIES, JURISDICTION & VENUE

          9.     This is an action for injunctive relief and damages in excess of

$1 million, excluding interest, costs, and attorneys’ fees.

          10.    Plaintiff, Hammer, is a resident of Leon County, Florida.2

          11.    Defendant, Sorensen, is a citizen and resident of Camarillo,

California. Sorensen is a 67-year-old Caucasian male whose weight, height, and

other physical characteristics are unknown.

          12.    Defendant, Risica, is a citizen and resident of New London,

Connecticut. Risica is a 38-year-old male whose weight, height, and other physical

characteristics are unknown.

          13.    Defendant, Weiss, is an individual whose identity and state of

residence are unknown at this time, but is believed to be a citizen and resident of a

state other than Florida.

          14.    Defendant, Sullivan, is an individual whose identity and state of

residence are unknown at this time, but is believed to be a citizen and resident of a

state other than Florida.



2
   Pursuant to Section 784.0485, Florida Statutes, for safety reasons Hammer requests and
requires that the location of her current address be confidential.


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          15.    Upon information and belief, other individuals who directed e-mails

and communications at Hammer are or may be part of a coordinated effort to

harass, intimidate, coerce, and threaten Hammer. Consequently, they and any

organizations or entities that are organizing, directing, aiding, abetting,

coordinating, and/or participating in their actions may be added as defendants at a

later time.3

          16.    Pursuant to 28 U.S.C. § 1391, venue is proper in this District because

a substantial part of the events giving rise to the claims occurred in this District.

          17.    This Court has personal jurisdiction over the Defendants because they

each engaged in substantial and not isolated activity, including the tortious acts

outlined herein, within the State of Florida and/or directed at and intended to cause

harm to Hammer in the State of Florida; and/or because they maintain substantial

and not isolated contacts with the State of Florida.

          18.    This Court has subject matter jurisdiction under 28 U.S.C. § 1332

because the amount in controversy exceeds $75,000, exclusive of interest and

costs, and this action is between citizens of different states.




3
  It appears based on the form, content and methods of the communications directed to Hammer
that she is the target of a coordinated attack intended to humiliate, harass, and cause substantial
emotional distress. For example, Hammer received the same postcards from various individuals
throughout the United States, often mailed from the same location. In several instances, the
content of the communications Hammer received used the same specific terms and phrases, thus
demonstrating direction and cooperation.


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                            STATEMENT OF THE FACTS

          19.    Hammer has been a prominent advocate for the Second Amendment

for decades.       In 1995, she became the first woman president of the NRA.

Throughout her career, she has been a leader in championing gun safety training at

the state and national levels.

          20.    Hammer also is a staunch and vocal advocate for quality educational

opportunities for children with dyslexia and learning disabilities.

          21.    Hammer currently lives and works as a lobbyist in Tallahassee,

Florida.

          22.    Following the tragic shooting that occurred at Marjory Stoneman

Douglas High School and continuing after the national debate over gun control

took center stage on television, online, and through social media, Hammer became

one of the focal points of a campaign of hate and vitriol that includes threats

against her and her grandchildren, harassing phone calls, and numerous e-mails

and other written communications that serve no purpose other than to cause

substantial emotional distress and to try to humiliate and intimidate Hammer.

          23.    Hammer has been confronted and verbally attacked in grocery stores,

being told, “You’re that evil fucking NRA bitch. I hope somebody blows your

fucking head off and your family too.”




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          24.    Hammer’s daily life has drastically altered because of the harassment

she is enduring. Whenever she is in public she worries that the people who have

been harassing her will confront her and that a confrontation could turn violent.

She has a very close relationship with her family, but now frequently avoids going

out to dinner with them because she runs the risk of being recognized and attacked;

potentially exposing her family and other members of the public to physical

violence directed toward her. She adjusted her schedule and the places she eats

with her family so that they are not predictable. Her entire family group does not

go anywhere together any more.

          25.    Hammer has even avoided public hearings and appearances—thus

restraining her own constitutional rights and interfering with her performance of

her professional duties—over fears that the harassment and threats against her will

escalate and expose bystanders to physical harm.

          26.    The attacks being launched against Hammer have occurred in an

increasingly aggressive social climate in which the Internet has allowed free

speech to be hijacked, perverted, and abused to inflict harm, fear, and emotional

pain on others.

          27.    E-mail and social media are more frequently being exploited as

implements of harassment and bullying, rather than for the free expression of ideas

and commentary on matters of public importance.



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          28.         Tragically, online and electronic harassment masquerading as free

speech often precede violent attacks upon the harassers’ victims.                  When that

happens, hindsight reveals warning signs that were ignored and a legal process that

often fails to prevent the preventable.

          29.         Hammer is not willing to ignore the precursors to violence she is

enduring while warning signs in the language used by her harassers point to their

conduct continuing and escalating.

          30.         Hammer’s daily life is being disrupted by electronic harassment and

cyber-stalking at the hands of people professing to be her “enemy for life,” while a

growing number of groups such as “End the NRA” have formed for the “singular

focus… to make the lives of the NRA’s leadership, board members and high-

profile supporters a living hell.” (Exhibit 1) (emphasis added).

          31.         Even politicians are fanning the flames by sending mixed messages

that can be easily interpreted as incitement to harass and harm political opponents.

          32.         As one former U.S. Secret Agent noted, such statements “are

dangerous, as they can be misinterpreted as a call to physical action or harm

against          an     individual   and   people       who   associate   with   them.”   (See

https://www.cnn.com/2018/06/25/opinions/ex-secret-service-agent-says-waters-

comments-are-dangerous-wackrow).




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          33.    Within this backdrop, Hammer has experienced vile personal abuse,

threats and harassment, including attacks emanating from the hands of the

Defendants, that serve no purpose other than to try to make her life a “living hell.”

          34.    A number of individuals (some protected by the anonymity of e-mail)

launched vicious personal attacks upon Hammer, which go far beyond mere insults

and indignities:

                 “Fuck you, Cunt. That is all.”

                       - bizarr              @         .com (Exhibit 2)
                                               *****

                 “you are a VILE CUNT… enough said”

                       - smith           @        .com (Exhibit 3)

                                               *****
                 “I’m horrified at your behavior. Nothing more than a
                 truly ugly from the inside out redneck. Rot in hell you
                 soulless cunt.”
                       - suzanne.                @        .com (Exhibit 4)

                                               *****

                 “Dead Kids… Eat shit ghoul.”
                       - ebu      @          .com (Exhibit 5)

                                               *****

                 “You are a wretched fucking bitch. You are complicit in
                 the deaths of 17 children. I hope you rot in hell.”

                       -          vil@           .com (Exhibit 6)



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                                             *****

                 “Die in hell bitch.”
                       - jim            @       .com (Exhibit 7)

                                             *****

                 “How do you sleep at night advocating the slaughter of
                 more children?... You propagate murder and death for
                 profit. Stick this email up your bought and paid for
                 corporate ass you worthless two bit corporate whore.”

                       - tim       @        .com (Exhibit 8)

                                             *****

                 “You are a disgusting piece of shit. I know you’ll never
                 be ashamed of yourself, feces isn’t capable of that, but
                 you should be…”

                       - nicky          @            .com (Exhibit 9)

          35.    A number of other individuals emailed Hammer charging her with

direct responsibility for murdering innocent children:

                 “Have enough of our children’s blood on your hand’s
                 yet????”

                       - angela_            @    .com (Exhibit 10)

                                             *****
                 “Murdered children… You make it happen.”

                       -         ox@        .com (Exhibit 11)
                                             *****




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                 “How can you help the NRA enact such draconian
                 legislation when children are dying. You are a blind and
                 uninformed woman whose work is killing people.”

                       - smc              @         .com (Exhibit 12)

                                              *****
                 “You are a murderer.”

                       - steve    @       .com (Exhibit 13)

                                              *****

                 “You have cost kids their lives – you have blood on your
                 hands”

                       - marc         @          .com (Exhibit 14)
                                              *****

                 “Shame on you for the blood on your hands”

                       - doug.        @         .com (Exhibit 15)

                                              *****
                 “You have killed our family and friends. You are
                 responsible for the deaths in Florida and for the deaths
                 all across the U.S.”

                       - yay              @         .com (Exhibit 16)
                                              *****

                 “blood on your hands… You are personally responsible
                 for the deaths of dozens of children…”
                       - mark         @       .com (Exhibit 17)

                                              *****

                 “you are a leader of a terrorist organization, no different
                 from ISIS or any other hostile organization, you area


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                 (sic) serial killer that for the time being is allowed to
                 walk among the innocent, I am waiting for the day your
                 blood soaked hands are in handcuffs.”

                       - stephen       @      .com (Exhibit 18)

                                            *****
                  “More… dead kids to add to your resume, Marion. I’m
                 sure you’re proud because, you know, you’re awful.
                 There’s a special place in Hell for you”

                       - justin.       @      .com (Exhibit 19)

                                            *****

                 “YOU and YOU ALONE are responsible for the DEATH
                 of those CHILDREN… buy another gun and shoot
                 someone who doesn’t agree with you. That’s what you
                 do isn’t it?? You shoot people by destroying them,
                 destroying their careers. It’s the same as that Nikolas
                 kid… you shoot people, except you get away with it!!!!”
                       - sb        @           .net (Exhibit 20)

                                            *****
                 “You better be aware that many MANY now want you on
                 a platter…”
                       - brantl        @     .com (Exhibit 21)

                                            *****
                 “Thank you for murdering 17 more children this week.”

                       - siegel    @       .com (Exhibit 22)
                                            *****




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                 “Because of you people have died. We hold you culpable
                 for all the innocent lives murdered and for facilitating
                 gun violence you should never rest easy or in peace.”

                       - lina      @       .com (Exhibit 23)

                                           *****
                 “… you are horrifying ugly murderous… you are
                 culpable for the deaths of all the children [who] been
                 killed in Florida… you are as ugly inside as you are on
                 the outside… and are ugly vile stupid ignorant and
                 murderous…

                 Should have been you as one of the victims.”
                       - elzan     @       .com (Exhibit 24)
                                           *****

                 “Gun lobbyists are POS… You are on my shit list, you
                 are on GOD’s shit list. You all have blood on your
                 hands.”
                       - auto          @         .com (Exhibit 25)

                                           *****
                 “Blood on your hands… Shame, horror, blood, money,
                 profit, guns and dead children – that’s your legacy. Go
                 find another country to live in, maybe Syria. They have
                 lots of guns and dead people there.”
                       - korey.        @         .com (Exhibit 26)

                                           *****




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                 “You should be forced to clean up the blood and guts
                 mess inside the Parkland High School and tell the
                 families of those slain how important your gun lobby job
                 is! You are a piece of shit! May you and all the NRA
                 whores burn in hell!”
                       - dwight.      @    .com (Exhibit 27)

          36.    Even those professing to be dedicated to preaching anti-hate and anti-

violence resorted to threatening Hammer’s family. During a public hearing in

Tallahassee on February 27, 2018, Rev. Joe Parramore leaned over to Hammer and

stated:

                 “The next check you write will be to pay for the funerals
                 of your grandchildren.”

          37.    Hammer has received emails making similar threats referencing her

grandchildren. (Exhibit 28).

          38.    Defendant, Sorensen, sought out Hammer’s e-mail address and sent

her two unsolicited emails that contain graphic photos of gunshot victims,

including an unidentified person in a hospital bed with gaping leg wounds and a

photo of President John F. Kennedy’s head after he was assassinated. (Exhibit

29).

          39.    Defendants, Risica, Weiss, and Sullivan, each sought out Hammer’s

e-mail address and sent her unsolicited e-mails containing indirect and/or direct

threats accompanied by humiliating and abusive personal attacks:




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                 “Dear Twat. You are a vile cunt. I hope you get to
                 experience a (sic) ammo dido (sic). I can’t wait till the
                 day I flip on the news to see you mourning a gunshot
                 victim. You’re disgusting and exactly what’s wrong with
                 people today. I seriously hope karma comes around for
                 you soon. You and that other ammosexual the fairy
                 Wayne LaPierre, what a masculine name to match the
                 fairy he is. I hope to see he died of a gunshot wound
                 that took hours of pain before he succumbed…

                 Fuck you. You worthless cunt. You’re a whore, not a
                 freedom fighter… I hope you don’t (sic) a moment of
                 peace for the rest of your pitiful lives…”

                       - Chris Risica (Exhibit 30)

                                          *****
                 “The consequences that you will… be subjected to
                 when you are killed by those weapons you have hawked
                 for all these years will send you to burn in hell you
                 fucking heartless, greedy bitch. I pray everyday that
                 one of these ‘good’ people puts 100 bullets between
                 your eyes so we can celebrate.”

                       - Howard Weiss (Exhibit 31)

                                         *****
                 “You should rot in hell you disgusting bitch!!!! HOW
                 MANY CHILDREN HAVE TO DIE SO YOU CAN
                 GET YOUR ROCKS OFF WITH YOUR FUCKING
                 GUNS!!!

                 Is it because your (sic) so fucking ugly and you never
                 gotten laid in your life?

                 Can’t you go be a nun like old hags like you used to do
                 in order to get your jollies off of being sadistic to
                 children? It’s perverse that you would rather watch
                 them get killed… FUCK YOU. I pray someday I run



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                    into you so I can scream my head off at your sick
                    face!!!

                    Your enemy for life.”

                          - Patrick Sullivan (Exhibit 32)

          40.       While Hammer is being targeted with these vicious attacks, she is

keenly aware that she is not the only victim of escalating aggression toward the

NRA.

          41.       For example, in late 2017, following the tragic shooting in Las Vegas,

an NRA spokeswoman was forced to move after receiving death threats, threats of

being            raped   and     threats    directed   toward     her    children.   (See

http://thehill.com/homenews/media/355717/nra-spokeswoman-says-shes-moving-

due-to-gun-control-death-threats).

          42.       In February 2018, a billboard in Louisville, Kentucky was vandalized

with               the       message         “KILL          THE         NRA.”        (See

https://www.cnn.com/2018/02/20/us/louisville-kentucky-nra-billboard).

          43.       In May 2018, a professor from Nebraska was convicted of spraying

fake blood on the home of an NRA lobbyist in Alexandria, Virginia, while his two

young children were at home. (See https://www.washingtonpost.com/local/public-

safety/professor-convicted-of-vandalizing-nra-lobbyists-home-with-fake-

blood/2018/05/21)




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          44.    Hammer’s harassment is occurring in an environment in which

organized groups are initiating public confrontations with political opponents; such

as when Florida Attorney General Pam Bondi had to be escorted from a movie

theatre by armed security after being confronted and harassed by protestors, whom

she described as “trying to create a fight”; and when Sen. Dana Young was

confronted and blocked by protestors outside a restaurant, who began yelling about

the Parkland shooting, saying Sen. Young had “blood on her hands” and calling

her a “killer” and “murderer.”

          45.    In a recent lawsuit filed to challenge the constitutionality of a Florida

law imposing age restrictions on gun purchases, two young adults filed a motion to

proceed as anonymous plaintiffs based on fears of harassment, intimidation and

potential violence. (See NRA, et. al. v. Pam Bondi, et. al., Case No. 4:18-cv-

00137-MW-CAS).

          46.    That request, which the State of Florida opposed, was based in part on

several of the aforementioned e-mails Hammer received.

          47.    In his Order denying the plaintiffs’ motion to proceed under

pseudonyms, the Honorable Mark E. Walker, U.S. District Judge, characterized

several of the above-referenced e-mails Hammer received as “hateful and

abhorrent,” “threats,” and “harassment.” (Exhibit 33).




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          48.    The modern reality is that failing to take available action against

harassers in the face of such threats leads to tragic consequences. Violent attacks

against harassment victims are often preceded by online and electronic threats that

are ignored.

          49.    Hammer is the victim of cyberstalking, harassment, intentional

infliction of emotional distress, and intrusion upon seclusion under Florida

statutory and common law. The Defendants’ e-mails evidence a pattern of conduct

composed of a series of acts evidencing a continuity of purpose to harass and

cyberstalk or they assert threats against Hammer; including e-mails that

communicated words and language or images specifically directed at Hammer

which caused substantial emotional distress and served no legitimate purpose.

          50.    All of the aforementioned e-mails and other communications,

including the Defendants’ e-mails, were received, unsolicited, and unwelcomed by

Hammer in Florida.

          51.    In addition to violating Section 784.048, Florida Statutes, the above-

referenced e-mails violate several Federal laws, including:

                 (a)   18 U.S.C. § 875: which prohibits the transmission
                       of any threat to injure the person of another using
                       the Internet;
                 (b)   47 U.S.C. § 223: which prohibits the use of a
                       telecommunications device to abuse, threaten or
                       harass a specific person; and/or



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                 (c)    18 U.S.C. § 2261A: which prohibits the use of e-
                        mail to harass, intimidate and threaten a person or
                        her immediate family member, or causes, attempts
                        to cause or reasonably expects to cause substantial
                        emotional distress to a person or her immediate
                        family member.

                                         COUNT I
                       (Injunctive Relief—Cyberstalking—Sorensen)
          52.    Hammer re-alleges paragraphs 1 through 51 as if fully set forth herein.

          53.    Hammer is the victim of cyberstalking by Defendant, Sorensen,

because Sorensen engaged in a course of conduct to communicate or to cause to be

communicated images by and through the use of electronic mail directed at

Hammer, causing substantial emotional distress to Hammer and serving no

legitimate purpose; as more fully set forth in paragraph 38, above, and in Exhibit

29 hereto.

          54.    Cyberstalking is a form of wrongful conduct, not speech, which is

prohibited by § 784.048, Florida Statutes, as well as 47 U.S.C. § 223 and/or

18 U.S.C. § 2261A.

          55.    Cyberstalking is a form of harassment that can be enjoined under

§ 784.0485, Florida Statutes, as well as under common law, which provides for the

entry of injunctions to prevent harassment. Gilbreath v. State, 650 So.2d 10, 12

(Fla. 1995); Kimball v. Fla. Dept. of Health and Rehab. Srvs., 682 So.2d 637, 639




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(Fla. 2d DCA 1996); Animal Rights Found. of Fla., Inc. v. Siegel, 867 So.2d 451,

464 (Fla. 5th DCA 2004).

          56.    Justice, reason, and common sense justify the entry of an injunction

for the cyberstalking Hammer has experienced in this case.

          57.    Hammer has a clear legal right to the entry of an injunction.

          58.    Hammer will suffer irreparable harm if an injunction is not issued, for

which there is no adequate remedy at law.

          59.    Hammer has a substantial likelihood of success on the merits of her

claim.

          60.    The threatened injury to Hammer as a result of Sorensen’s continued

misconduct outweighs any possible harm that would result from the entry of an

injunction.

          61.    The considerations of the public interest support the entry of an

injunction.

          62.    There is no other cause of action currently pending between Hammer

and Sorensen.

          63.    Hammer has not made any previous attempt to obtain an injunction

for protection against Sorensen in this or any other court.

          WHEREFORE, Hammer seeks a temporary and permanent injunction

restraining Sorensen from committing any acts of cyberstalking against her and



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providing any terms the Court deems necessary for the protection of Hammer,

including any injunctions or directives to law enforcement agencies.

                                       COUNT II
                      (Injunctive Relief—Harassment—Sorensen)

          64.    Hammer re-alleges paragraphs 1 through 51 as if fully set forth herein.

          65.    Hammer is the victim of harassment by Defendant, Sorensen, because

Sorensen engaged in a course of conduct directed at Hammer, causing substantial

emotional distress to Hammer and serving no legitimate purpose; as more fully set

forth in paragraph 38, above, and in Exhibit 29 hereto.

          66.    Sorensen’s conduct amounts to harassment under Section 748.048,

Florida Statutes, and under Florida common law.

          67.    Harassment is not speech: it is wrongful conduct that may take the

form of speech. Consequently, it can be enjoined without running afoul of the

First Amendment. Gilbreath, 650 So.2d at 12; Kimball, 682 So.2d at 639; Siegel,

867 So.2d at 464.

          68.    Justice, reason, and common sense compel a remedy for Sorensen’s

misconduct.

          69.    Hammer has a clear legal right to the entry of an injunction.

          70.    Hammer will suffer irreparable harm if an injunction is not issued, for

which there is no adequate remedy at law.




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          71.    Hammer has a substantial likelihood of success on the merits of her

claim.

          72.    The threatened injury to Hammer as a result of Sorensen’s continued

misconduct outweighs any possible harm that would result from the entry of an

injunction.

          73.    The considerations of the public interest support the entry of an

injunction.

          74.    There is no other cause of action currently pending between Hammer

and Sorensen.

          75.    Hammer has not made any previous attempt to obtain an injunction

for protection against Sorensen in this or any other court.

          WHEREFORE, Hammer seeks an injunction temporarily and permanently

restraining Sorensen from committing any acts of harassment against her and

providing any terms the Court deems necessary for the protection of Hammer,

including any injunctions or directives to law enforcement agencies.

                                     COUNT III
            (Injunctive Relief—Intentional Infliction of Emotional Distress)

          76.    Hammer re-alleges paragraphs 1 through 51 as if fully set forth herein.

          77.    Defendant, Sorensen, intentionally or recklessly inflicted emotional

distress upon Hammer, when he knew or should have known that emotional




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distress would result, by sending the e-mails specifically set forth in paragraph 38,

above, and in Exhibit 29 hereto.

          78.    Defendant, Risica, intentionally or recklessly inflicted emotional

distress upon Hammer, when he knew or should have known that emotional

distress would result, by sending the e-mail specifically set forth in paragraph 39,

above, and in Exhibit 30 hereto.

          79.    Defendant, Weiss, intentionally or recklessly inflicted emotional

distress upon Hammer, when he knew or should have known that emotional

distress would result, by sending the e-mail specifically set forth in paragraph 39,

above, and in Exhibit 31 hereto.

          80.    Defendant, Sullivan, intentionally or recklessly inflicted emotional

distress upon Hammer, when he knew or should have known that emotional

distress would result, by sending the e-mail specifically set forth in paragraph 39,

above, and in Exhibit 32 hereto.

          81.    The Defendants’ conduct was outrageous, as to go beyond all bounds

of decency and to be regarded as odious and utterly intolerable in a civilized

community.

          82.    The revilement the Defendants inflicted upon Hammer is explicit and

egregious.




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          83.    The Defendants’ conduct has caused and will continue to cause severe

emotional distress, shame, humiliation, and embarrassment to Hammer in the

future if such conduct is allowed to continue.

          84.    Hammer has a clear legal right to the entry of an injunction.

          85.    Hammer will suffer irreparable harm if an injunction is not issued, for

which there is no adequate remedy at law.

          86.    Hammer has a substantial likelihood of success on the merits of her

claim.

          87.    The threatened injury to Hammer as a result of Defendants’ continued

misconduct outweighs any possible harm that would result from the entry of an

injunction.

          88.    The considerations of the public interest support the entry of an

injunction.

          WHEREFORE, Hammer seeks a temporary and permanent injunction

restraining each of the Defendants from inflicting any emotional distress upon her

through emails or other written or verbal communications containing the words

and language set forth in Exhibits 29-32, and providing any terms the Court deems

necessary for the protection of Hammer.

                                    COUNT IV
                 (Damages—Intentional Infliction of Emotional Distress)

          89.    Hammer re-alleges paragraphs 1 through 51 as if fully set forth herein.

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          90.    Defendant, Sorensen, intentionally or recklessly inflicted emotional

distress upon Hammer, when he knew or should have known that emotional

distress would result, by sending the e-mails specifically set forth in paragraph 38,

above, and in Exhibit 29 hereto.

          91.    Defendant, Risica, intentionally or recklessly inflicted emotional

distress upon Hammer, when he knew or should have known that emotional

distress would result, by sending the e-mail specifically set forth in paragraph 39,

above, and in Exhibit 30 hereto.

          92.    Defendant, Weiss, intentionally or recklessly inflicted emotional

distress upon Hammer, when he knew or should have known that emotional

distress would result, by sending the e-mail specifically set forth in paragraph 39,

above, and in Exhibit 31 hereto.

          93.    Defendant, Sullivan, intentionally or recklessly inflicted emotional

distress upon Hammer, when he knew or should have known that emotional

distress would result, by sending the e-mail specifically set forth in paragraph 39,

above, and in Exhibit 32 hereto.

          94.    The Defendants’ conduct was outrageous, as to go beyond all bounds

of decency and to be regarded as odious and utterly intolerable in a civilized

community.




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          95.    The revilement the Defendants inflicted upon Hammer is explicit and

egregious.

          96.    The Defendants’ conduct has caused and will continue to cause severe

emotional distress, shame, embarrassment, and humiliation to Hammer.

          97.    As a direct and proximate result, Hammer is entitled to recover

damages from each of the Defendants, in appropriate amounts to be determined by

the trier of fact.

          WHEREFORE, Hammer demands judgment against each of the Defendants

for damages, interest and costs, as well as such other and further relief as the Court

deems just and appropriate.

                                       COUNT V
                     (Injunctive Relief—Intrusion Upon Seclusion)

          98.    Hammer re-alleges paragraphs 1 through 51 as if fully set forth herein.

          99.    Defendant, Sorensen, intentionally or recklessly intruded upon

Hammer’s seclusion and private activities through electronic means, by sending

the e-mails specifically set forth in paragraph 38, above, and in Exhibit 29 hereto.

          100. Defendant, Risica, intentionally or recklessly intruded upon

Hammer’s seclusion and private activities through electronic means, by sending

the e-mail specifically set forth in paragraph 39, above, and in Exhibit 30 hereto.




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          101. Defendant, Weiss, intentionally or recklessly intruded upon

Hammer’s seclusion and private activities through electronic means, by sending

the e-mail specifically set forth in paragraph 39, above, and in Exhibit 31 hereto.

          102. Defendant, Sullivan, intentionally or recklessly intruded upon

Hammer’s seclusion and private activities through electronic means, by sending

the e-mail specifically set forth in paragraph 39, above, and in Exhibit 32 hereto.

          103. Intrusion upon seclusion extends not only to physical intrusions but to

electronic intrusions as well. Zirena v. Capital One Bank (USA) NA, No. 11-

24158-CIV, 2012 WL 843489 at *2 (S.D. Fla. Feb. 2, 2012) (defining the intrusion

tort as electronically intruding into one’s private quarters and holding that

harassing phone calls were actionable).

          104. The actions by each of the Defendants are offensive and

objectionable, and would outrage or cause mental suffering, shame, humiliation, or

hurt feelings to a person of ordinary sensibilities.

          105. The Defendants’ conduct was outrageous, as to go beyond all bounds

of decency and to be regarded as odious and utterly intolerable in a civilized

community.

          106. The Defendants’ conduct has caused and will continue to cause

emotional distress, humiliation, shame, and embarrassment to Hammer in the

future if such conduct is allowed to continue.



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          107. Hammer has a clear legal right to the entry of an injunction.

          108. Hammer will suffer irreparable harm if an injunction is not issued, for

which there is no adequate remedy at law.

          109. Hammer has a substantial likelihood of success on the merits of her

claim.

          110. The threatened injury to Hammer as a result of Defendants’ continued

misconduct outweighs any possible harm that would result from the entry of an

injunction.

          111. The considerations of the public interest support the entry of an

injunction.

          WHEREFORE, Hammer seeks a temporary and permanent injunction

restraining each of the Defendants from intruding upon her seclusion through

emails or other electronic communications containing the words and language set

forth in Exhibits 29-32, and providing any terms the Court deems necessary for the

protection of Hammer.

                                  COUNT VI
                        (Damages—Intrusion Upon Seclusion)

          112. Hammer re-alleges paragraphs 1 through 51 as if fully set forth herein.

          113. Defendant, Sorensen, intentionally or recklessly intruded upon

Hammer’s seclusion and private activities through electronic means, by sending

the e-mails specifically set forth in paragraph 38, above, and in Exhibit 29 hereto.

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          114. Defendant, Risica, intentionally or recklessly intruded upon

Hammer’s seclusion and private activities through electronic means, by sending

the e-mail specifically set forth in paragraph 39, above, and in Exhibit 30 hereto.

          115. Defendant, Weiss, intentionally or recklessly intruded upon

Hammer’s seclusion and private activities through electronic means, by sending

the e-mail specifically set forth in paragraph 39, above, and in Exhibit 31 hereto.

          116. Defendant, Sullivan, intentionally or recklessly intruded upon

Hammer’s seclusion and private activities through electronic means, by sending

the e-mail specifically set forth in paragraph 39, above, and in Exhibit 32 hereto.

          117. Intrusion upon seclusion extends not only to physical intrusions but to

electronic intrusions as well. Zirena, 2012 WL 843489 at *2 (defining the intrusion

tort as electronically intruding into one’s private quarters and holding that

harassing phone calls were actionable).

          118. The actions by each of the Defendants are offensive and

objectionable, and would outrage or cause mental suffering, shame, humiliation, or

hurt feelings to a person of ordinary sensibilities.

          119. The Defendants’ conduct was outrageous, as to go beyond all bounds

of decency and to be regarded as odious and utterly intolerable in a civilized

community.




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          120. The Defendants’ conduct caused emotional distress, humiliation,

shame, and embarrassment to Hammer.

          121. As a direct and proximate result, Hammer is entitled to recover

damages from each of the Defendants, in appropriate amounts to be determined by

the trier of fact.

          WHEREFORE, Hammer demands judgment against each of the Defendants

for damages, interest and costs, as well as such other and further relief as the Court

deems just and appropriate.

                            DEMAND FOR JURY TRIAL

          Hammer demands a trial by jury on all issues so triable.

          Respectfully submitted, this 13th day of July, 2018.

                                          /s/ Shane B. Vogt
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